 

 

 

Case '7:10-cv-00163-GEC-mfu Document 4 Filed 04/20/10 Page 1of10 Pageid#: 15

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF VIRGINIA
ROANOKE DIVISION

spine -

Vv.

Stopford ©. Fobents , meclical cheprolmerst
eTrendant(s).

VERIFIED STATEMENT

Civil Action No. "T:t0-Cv- O0lbS

|, the plaintiff in this action, have been advised of the requirements regarding

exhaustion of administrative remedies as outlined in 42 U.S.C. 19976 and now submit this
verified statement.

wn one):
| have exhausted my administrative remedies as to each of the claims raised
in my complaint by appealing my claims to the highest available level of the
administrative remedies procedures. Copies of the record of the proceedings
are attached to this statement.

| have attempted to exhaust my administrative remedies but my grievance
was rejected as untimely. | have appealed that determination to the highest
level available. | have attached documentation verifying my attempts fo
exhaust administrative remedies.

There are no administrative remedies available to me at this time, either
because the issue | raise is nongrievable, or because there is no grievance
procedure at the correctional facility at which | am confined. | have attached
documentation verifying my attempts to exhaust administrative remedies.

This cause of action arose at , and | am now being
housed at another facility, _. Therefore, | do not
believe | have administrative remedies available at this time.

 

| affirm that | am the plaintiff in this action and | know the content of the above
statement, that it is true of my own knowledge, except as to those matters that are stated
in it to be based on my own information and belief: and to those matters, | also believe
them to be true. | declare under penalty of perjury that the foregoing is true and correct.

#1 9- (0

 

 

"An Inmate who has bsen transferred from one VDOC prison facility to another may still be able to file grievances where
the cause of action arose. . :

 

 

 
Ji
Case 7:10-cv-00163-GEC-mfu Document 4 Filed 04/20/10 Page 2of10 Pageid#: 16

 

 

VIRGINIA DEPARTMENT OF CORRECTIONS Effective Date: July 1, 2005
Regular Grievance Form Operating Procedure# 866 Attachment #2
REGULAR GRIEVANCE FORM 63°! ode

Log Number 0ood§ 4

 

 

 

 

 

Neal Spmes 95.378 §) ay
Last Name First Number Building Cell Number

 

WHAT IS YOUR COMPLAINT? (Provide information from the informal process: who did you see, when did you see them, what
was done OR attach informal complaint if implementation Memorandum requires such).

 

 

On D-ib-if XL ine Fe Cuoech POM, medica Hop by Ye eiding Nurse, spked ofaz Coljine

 

   

Xn VP ,
Fe eos Br vahd ae the ee GRievane st De Lue > not VOL LIN The a Wau ¢ so
What action do, you want taken? i t i i i ny

oe HeCEIV EH
[| MAR 87 2010 i,

 

 

 

 

 

 

 

 

 

 

 

Grievant’s Signature: oe, ~ ny So0 ) JE Hf BOD 28 Date: 4- /- /p

WardenSuprintentes torpepert™™e™ (3 (O/ee

Date Received: aro 42 2010

 

 

 

1 of 2 Revision Date: 7/1/05

aie: Sie Hho
Ja
Case 7:10-cv-00163-GEC-mfu Document 4 Filed 04/20/10 Page 3of10 Pageid#: 17

VIRGINIA DEPARTMENT OF CORRECTIONS Effective Date: July 1, 2005
Regular Grievance Form Operating Procedure# 866 Attachment #2

 

 

INSTRUCTIONS FOR FILING: You are required per Division Operating Procedure 866 “Inmate Grievance Procedure” to attempt to
resolve your complaint in good faith prior to filing a regular grievance. The institutional Implementation Memorandum 866 details the
informal process to use. You must submit your grievance within 30 days from the date of occurrence or discovery of incident. Only one
issue per grievance will be addressed. Write your issue only in the space provided on the grievance form, preferably in ink. Regular
grievances are submitted through the institutional mail to the Warden/Superintendent’s office and a receipt issued within 2 working days
from received date if the grievance is not returned during intake.

 

INTAKE: Grievances should be accepted for logging unless returned for the following reason(s): _
Non-Grievable. This issue has been defined as non-grievable in accordance with Division Operating Procedure 866.
L] Disciplinary Procedure. You may appeal hearing decisions, penalties, and/or procedural errors under the provisions
~ in Division Operating Procedure 861, “Inmate Discipline”.
oO Matters beyond the control of the Department of Corrections
(J Validation decisions rendered by the Security Threat Group Program Manager

 

 

Does not affect you personally
Limited. You have been limited by the Warden/ Superintendent _
More than one issue — resubmit with only one issue
Expired Filing Period. Grievances are to be filed within 30 calendar days from date of occurrence/incident, or discovery of the
occurrence/incident except in instances: 1) beyond the inmate’s control or, 2) where a more restrictive time frame has been
established in Division procedures to prevent loss of remedy or the issue from becoming moot.
Repetitive. This issue has been grieved previously in grievance #
Inquiry on behalf of other inmates.
Group Complaints or Petitions. Grievances are to be submitted by individuals.
" Vulgar/Insolent or Threatening Language. YOU MAY BE CHARGED IN ACCORDANCE WITH THE PROVISIONS IN
DIVISION OPERATING PROCEDURE 861 “INMATE DISCIPLINE”
Photocopy/Carbon Copy: You must submit the original grievance for résponses and appeals.
Grievances Filed Regarding Another Institution. This grievance is being retummed to you for you to submit to:

 

 

 

 

 

 

 

 

 

 

 

ge Informal Procedure. You have not used the informal Process to resolve your complaint in accordance with the Implementation
Memorandum |

Request for services

Insufficient Information. You need to provide the following information to the Grievance Office before the grievance can be
processed:

 

 

 

 

The issue in the grievance is different from the issue in the informal complaint .

 

Institutional Ombudsman/Grievance Coordinator: iS ) ker “OL Ke arora TSP eo

 

If you disagree with this decision, you have 5 calendar days from date of receipt to submit to the PeeiouRO PO ifdsman fora
review of the intake decision. The Regional Ombudsman’ s decision is final. .

Regional Review of Intake (within.5 working days of receipt)

The intake decision is being upheld in accordance with the criteria in Division Operating Procedure 866 “Inmate Grievance
Procedure”.

The intake decision is being returned to you because the 5 day time limit for review has been exceeded.

The grievances meet the criteria for intake and are being returned to the Warden/Superintendent for logging.

 

 

 

 

 

 

 

 

Regional Ombudsman: _ Date:

 

WITHDRAWAL OF GRIEVANCE: I wish to voluntarily withdraw this grievance. I understand that by withdrawing this grievance,
there will be no further action on this issue nor will I be able to file any other grievance in the future on this issue.

 

 

Inmate Signature: _ _ Date:

Staff Witness: a, Date:

 

 

er

2 of2 Revision Date: 7/1/05

 
Ju
Case 7:10-cv-00163-GEC-mfu Document 4 Filed 04/20/10 Page 4of10 Pageid#: 18

DOP 866
VIRGINIA DEPARTMENT OF CORRECTIONS Attachment 5
EMERGENCY GRIEVANCE FORM 8 :
Log # 5942

Definition: Emergencies are defined as situations or conditions which may subject the inmate to immediate risk of serious
personal injury or irreparable harm.

Keal _ pms B07 WBSPA-+. aad

Inmate Last Name First No. Institution/Bldg. # Cell #

PART A- INMATE CLAIM

 

 

 
    

 

- What is the emergency? Z ups 2 fised mm Ncetind Ba Yet. Dee. Ab Ev)
*  #£ Ly MEA pil CA, iM] PQDOUNCEL. P in Ph 0 inks £F got wt bd
Nv > .
=| IR ti of HERE’ DIR, ib O09 EL poled ty Mihi thw) BY BCL ILL 3
Sy att sv ofubion Morlirnty' aL L_tom rec) hodey
/
nN poke! fe pn EneBoeniy Gebvenle.
&> 2-ib-10 / B
© Date / Time Signature of Inmate & Number

 

PART B- STAFF RESPONSE
(This part is to be completed and returned to the inmate within eight (8) hours.)

&) Your mee re not meet the definition for an emergency. Reason/s: 1 . |
Yoo ic Ast pre pea DO iC? door orp |

aa”

 

 

      
     

    

     

 

  

 

    

VT ecere, your 154, 15 Not ihe -Hoye ate na,

vv

lok pt the perse Wh) SIGNED IID HEVENLE .

J

[ | Your grievance has been determined to be an emergency sil til Biokant attio heh ro

 

 

 

 

 

 

 

 

 

f e fe:
MAR 24 7444 ot

 

 

 

 

 

 

 

 

Date / Time

 

AAD pen

 

Distribution: Original Grievance returned to Inmate

Copy forwarded to Institutional Ombudsman/Grievance Coordinator
[Detach here]

 
| I
Case 7:10-cv-00163-GEC-mfu Document 4 Filed 04/20/10 Page5of10 Pageid#: 19

VIRGINIA DEPARTMENT OF CORRECTIONS 866.1 A-7
DOC Location: Central Office,
Orrenaer Grievance Response - Leve Administration
Il Report Generated by Ray, Howara
Report run on 4/2/2010 at 12:01 PM

 

 

 

 

 

 

 

 

 

 

 

Offender Name DOC# | Location Grievance Number
Neal, James W dr. 1180278 Current Wallens Ridge State Prison} |630-10-REG-00013
Filed Wallens Ridge State Prison

 

LEVEL Il: REGIONAL DIRECTOR, HEALTH SERVICES DIRECTOR OR CHIEF OF OPERATIONS FOR
OFFENDER MANAGEMENT SERVICES RESPONSE (To be completed and mailed within 20 calendar days)

Your grievance appeal complaint has been reviewed along with the response from Level I and your complaint that on February 16,
2010, the nurse refused you your life sustaining medication. You said that it was reported that you were socializing and did not
report to receive your medication. You said that you were in the shower.

 

Based on the information provided and upon further investigation, I concur with the Level I response and have determined your
grievance UNFOUNDED. Per Lt. A. Mullins, it was noted that you were seen in the pod socializing with other offenders and
hwould not get in the pill line to receive your medication. You refuse you medication when you fail to present at the pill call line ina
timely manner. This issue is governed by OP 701.1.

If you have any further issues, please resubmit a sick call for further evaluation. There is no violation of policy/procedure regarding
this issue. No further action is needed from this level.

Level II is the last level of appeal for this grievance
————

 

 

04/02/2010

 

 

Regional Director, Health Services Director, or Chief of Operations for Offender
Management Services Date

(

 

 

 

 

Offender Grievance Response - Level II

Report run on 4/2/2010 at 12:01 PM Rev. 05/31/2007

Page 1 of 1

 
Dele 2cage [O-cv-00163-GEC-mtu Document 4 Filed 04/20/10 Page 6 of 10 Pageid#: 20 .

pov Se HUB D7

Appeal Jo tne Level T Besponse + Carden Capied ) - a - - Pgh

AYin ne informal Complaiot tna} 3 waote Which iS pttached +o Wis
qnien ANCE. LTA. mull ing Steles that officew collins Yad not Wow biG
p- Building oh Ye dre, of F-\e-ID. When , Suobrs ted the Bequ lor
Grievance And pHached The Eme Regency GBIEWANLE Ie its Z told tne
GmEVHALE Coordinatox, to look at the EmeRqency GBievance
Peceiph where Yre OM CER ign. They would See that of Vee

_ CollinS hod indeed wosked h- Build in, Becevse he was tne one oho sighed

| We emergency qBievence, Ly the Upedens Response, LTA. Pvsih
Resporpe vod. changed. L.A. Pyi}ins Soled oll rE COlinS Wad | -
Looping h- Building. Lobich 1 not what wos 55) on Ye intoense |
Complains.

2) Nuase Bobew}S Pwmved in Act pod) during yor BECLERD tion pnd pr]
cal) was PONounced. LI wes it Jré ouer when Wns Laas donde.
Theres vol Ayal POpDY InrmpleS Whe tebe médicahians ip ‘nic pod. £
hed Yp Oxy oft , pul my Cots of. The: oe CS) we ts, 4 Ce). WA 1 Ao
my cell deoz to Be opened. the Boott|A idee By ce dase. Been

he thought 4 wanted Yo come in Ine fl). had tog

So woleR. then | had to push Ihe EMERGENC button os my

cell wei) boo the oWscex bo answer 3} ABC FEN Win had do get

my MED cAdIAN. L wad Sees Bu Nvase Roherds Comin dows the Seps

 
   

       
      
 

She wos Closinn @ hex medical Box noc walking out Ine dock. Bo

+ let hex baw that 2 pecded my medicabas. She could have
Stop ) and CANE PSE By medicahiol becavse She's done yb
top OER yp rmptes Re hooe. NWweye ForeRlS RE Used) +p Stop

 
Case 7:10-cv-00163-GEC-mfu Document 4 Filed 04/20/10 Page 7 of 10 Pageid#: 21

Dre 3-B9-10 (ce
Ye Yue # 190378

Cont caaes pa
0% Spea Jo ME. Ak Spek Mee > old ofc Collins that 3 ropnted

Bp EmewQency GRIEVANCE, E WAS sent Ao ry ceN as if 7 Nad done
Some Yo» wrong. 1 Wd den iedl the Eme Rg ENC GRIEVANCE od ex,
Collins Bod We Bool olficeB. TF had to qeh md inmate Whd Pn pod Worker
by qe) Vac EmERGENCY GMieV ENCE foo me dod Jone s} to get signed:
ALice% Coding woes! qoinsy 19 Sig’ Sy. yhen tnronte hed to 451% do bbs
ty tone him Sigh iY.

3) There iS no Set time here om V.35.7 box pill calls. There 18
Hemel raEnnem Which +0 Come to the pri Vine Since There vS
me Sed time hoe py! call. There S Po Bole here py D.B.SP Yat
Sholes You have A minute 6% 29) minyles ty wet sy ine aad
get your. medicalions. IP thers wads a St Hime Wrest Shen tis
Response could have Been vsed.

4) 4.1, Schobohra has nothing to clo fan
Bt D.BSY. He wos send +o spea Soll

 

 
    
 

ey depnet rent here
modes Shoot WS
He Psst, Wades

had hin invesagah ng 40 issue becaypse 1 sselooue boo rsecical.

ay Pw thinly “\ shauld have been Summed over do Me inshtybione|
Dredtighloss on me medical depnednnenchs higher, pS to Be SoSnekd

5) chronic cake medicalionS PRE ConSideRed Jo Be ike Svadas
edicadsons. KoLRAN ) Such AS Ouese Bober}s cannos Ref ee
Qyve YON® ove medica Hon & ik you ask Vee. ther. SPEC io ih ts
Cheanic care roedica tion.

 
ho
Case 7:10-cv-00163-GEC-mfu Document 4 Filed 04/20/10 Page 8 of 10 Pageid#: 22

(cu)

Cortes P4d

ho, Roberts cant BEkvse +o GIVe me rs medicalionS The consy)+
Wy Bn declon allen she mace dre BECi sir not 10 ove y\ 40 me, rh
Show’? nok NoRSe Foloe BAS in ten bona Ny did not GIVE THE my medics bio
ped Spoke Wino we docloz rf She indeed Aid spes Wi him Bight Anen,
The Erm RA ENCY GRIEVANCE Was AnsweRecl yt S120 pro, The docloz
Loud have been Gone By YEN In the Fesponse of tre inkoe me \
Complaint. Nothin ws SAA Shou} MS Roberts sea kiny with tne
‘doctox. Seles MS Robexjs spid Ss ot Ve svsdos 53% 40 Mis
One dese of my medicals pn. Baan WS Fober.ts cao'd mabe Ynad
Cal). She has no Why oF Marowing. By Shy My She Spohe with tbe
docoe \ Shows She WOS FeyinG do Cover HERSEIF 15 CASE SHE had
dune Serre tiny WROD, T) Stood alice on Ihe Text of PIS Bobexts
pod Ye medical deppoimenthere oy WRSP, Chivnic cpr. potien’s
toe medical igs dnt heep the m Jivirdy. la xbou} them ney roost I bel
wood iE. % do AVL me 15 PobeRls Con} Sush up vnc notge
person 4HeRe rceicalad. MS Roberts is nod guah ved jo rep he”
Yon} desision.

 

     

=

Deke 83-94-10 pr ue” //008 78

 
     

je oe
Case 7:10-cv-00163-GEC-mfu Document 4 Filed 04/20/10 Page 9of10 Pageid#: 23
VIRGINIA DEPARTMENT OF CORRECTIONS “866.1 A-6
OFFENDER GRIEVANCE RESPONSE — LEVEL | DOC Location: Wallens Ridge
OFFENDER GRIEVANCE RESPONSE
LEVEL I

Neal, James 1180278 WRSP 630-10-Reg-00013
Offender Name Number Facility Log Number

LEVEL I: WARDEN/SUPERINTENDENT’S RESPONSE (To be completed and mailed within 30 calendar days.)

In your grievance, you said that on February 16, 2010, the nurse refused you your life sustaining medication. You
said that it was reported that you were socializing and did not report to receive your medication. You said that you
were in the shower.

Lt. A. Mullins responded to informal complaint 630-10610. She stated that on the date indicated Officer Collins was
assigned to A-Building. It is noted that you were seen in the pod socializing with other offenders and would not get
in the pill line to receive your medication.

Investigation indicated that, per Lt. K. Schlobohm, you refused your medication when you failed to present at the
pill call line in a timely manner. Furthermore, a RN may consult with a doctor to determine if a specific medication
is life sustaining. It is your responsibility to be cooperative and comply with your plan of care.

OP 701.1 — Health Services Administration governs this issue.

After reviewing the information presented by staff in response to your complaint, and the policy governing the issue,
I find your grievance to be Unfounded.

If you are dissatisfied with the Level I response, you may appeal within five (5) calendar days to: The Director of
Health Service, P. O. 26963, Richmond, VA 23261-6963.

(ANE Hr]!

Bryan ‘Watson, Warden Date

 

I wish to appeal the Level I response because:

 

 

 

 

 

   
  

"F 160378 B-BI-b

Offender Signature Date

   

 
Case 7:10-cv-00163-GEC-mfu -Document-4.- Filed 4/20/10 Page 10 0f 10 Pageid#: 24

WWiations & ico cage | Prisor

 

VIRGINIA DEPARTMENT OF CORRECTIONS FEB 4 ( Zi iL Effective Date: November 1, 2007
Informal al Complaint Operating Procedure #866.1 Attachment #9

 

Informal Complaint %

INSTRUCTIONS FOR FILING: Briefly write your issue in the space provided on the Informal Complaint
form, preferably in ink. Only one issue per Informal Complaint. Place your complaint in the designated area
at your facility. A receipt is issued within 2 working days from the date received if the informal complaint is
not returned during intake. If no response is received within 15 calendar days, you may proceed in filing a
regular grievance. You may utilize your receipt as evidence of your attempt to resolve your complaint.

 

 

_ James Neo! 100547) )) 5978 R= 44
Offender Name Offender Number Housing Assignment
CAtnit Manager/Supervisor _] Food Service [_] Treatment Program Supervisor
[_] Personal Property [_] Commissary [_] Mailroom
([] Medical Administrator [_] Other (Please Specify):
Briefly explain the nature of your complaint (be specific): —_——_eeeee

Lhe p ethuation Op 2-lh-10 duzing Cvenion Pr) asee “he mse

Fokysad tn que me roy medicatinn. SOM ASrecl A icew Collins

conten! 200m’ olicer Wyo pn ENEPHENOY eek Calling Bat tae
pod told to lock dove op ry cell. my i Ememenoy Was ike thee mdton
because, Toy myli cation i ‘considered 8) sh staining nes BADD,

Offender Signature ase i077 B02, 7. 2) Date Dy llo- {D
| Offenders - Do Not Write Below This Line

Date Received: a -/ PTO Tracking # [0 I O
Response Due: 0 ‘ 2 D 1 “( Oo Assigned to: __ L=T. Mourcins

 

 

 

 

 

 

 

Action Taken/Response:

CC ES ? LEME

  
    

Lat Addicpacat ZO.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

LEAD Ly Php ‘ool Deel Lah AX at Ch
Ofhes Spe act tid Gt. 40 of 1B et
7 “Bho I= ol ALM
© Ot alacte A LL Yet Lil L. LL Gg O
fIArtol SAL Atos. wrk pe
2
ce
Loh Le, ww AMA Le LLIKLS of Fh

Respondent Signature Printed Name and Title , Daté ahh ‘
Original — Offender First Copy — File Second Copy — Offender as Intake Receipt

 

~tof2—~—<—SsSSSS Revision Date: 7/13/07

 

 

 
